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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)

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Co-Counsel to the Official Committee of Unsecured
Creditors of Shapes/Arch Holdings L.L.C., et al.

                                                    Chapter 11
In re:
                                                    Case No. 08-14631
SHAPES/ARCH HOLDINGS L.L.C., et al.,                (Jointly Administered)

                       Debtors.                     Judge: Hon. Gloria M. Burns


                        ORDER GRANTING PRO HAC VICE ADMISSION
                             OF DONNA H. LIEBERMAN, ESQ.

    The relief set forth on the following pages, numbered two (2) through three (3), is hereby
ORDERED.




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Case No.                08-14631 (GMB)
Caption of Order:       ORDER GRANTING PRO HAC VICE ADMISSION OF DONNA H.
                        LIEBERMAN, ESQ.


         THIS MATTER having been opened to the Court by the Official Committee of

Unsecured Creditors (the “Committee”) of Shapes/Arch Holdings L.L.C., et al. (the “Debtors”),

upon an Application for an Order granting pro hac vice admission of Donna H. Lieberman, Esq.;

and the Court having considered the Application and the Certification of Donna H. Lieberman,

Esq. in support thereof, and for good cause shown;

         IT IS ORDERED as follows:

                  1.    Donna H. Lieberman, Esq. (“Ms. Lieberman”) is permitted to appear pro

         hac vice in this matter pursuant to D.N.J. LBR 2090-1 and L. Civ. R. 101.1(c); provided,

         however, that all pleadings, briefs, stipulations, and other papers filed with the Court

         shall be signed only by an attorney who is admitted to practice in this Court and the Court

         of the State of New Jersey.

                  2.    Ms. Lieberman shall arrange with the New Jersey Lawyers’ Fund for

         Client Protection (the “Fund”) for payment of the annual fee, for this year and for any

         year in which she continues to represent a client in a matter pending in this Court, in

         accordance with New Jersey Court Rule 1:28-2(a) and L. Civ. R. 101.1(c)(2), said fee to

         be paid within twenty (20) days of the date of the entry of this Order.

                  3.    The $150.00 fee required by L. Civ. R. 101.1(c)(3) for pro hac vice

         admission to the District Court for the District of New Jersey also shall be payable within

         twenty (20) days of entry of this Order. Payment in the form of a check must be payable

         to “Clerk, USDC” and mailed to the Clerk of the United States Bankruptcy Court for the



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                        LIEBERMAN, ESQ.


         District of New Jersey at the following address, for forwarding by the Clerk to the

         District Court: United States Bankruptcy Court, District of New Jersey, Mitchell H.

         Cohen U.S. Courthouse, 400 Cooper Street, 4th Floor, Camden, New Jersey 08101

         (Attention: Pro Hac Vice Admission).

                   4.   Ms. Lieberman shall be bound by the Local Rules of the United States

         Bankruptcy Court for the District of New Jersey and the Local Civil Rules of the United

         States District Court for the District of New Jersey, and shall be within the disciplinary

         jurisdiction of this Court and the United States District Court for the District of New

         Jersey.

                   5.   The Clerk shall forward a copy of this Order to the Treasurer of the Fund

         within five (5) days of the date hereof.




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